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                       Exhibit 17
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                                                                                                           Total        Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company #   Company Name               FLSA Status Pay Group Status       Hourly Rate   Gross Pay    Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733       LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated   0.00          $67,423.59   $0.00                    $178.10         $4,908.58            $0.00                  $9,565.01              $3,875.93               $906.47          $2,789.00
                                                                                                           $67,423.59   $0.00                    $178.10         $4,908.58            $0.00                  $9,565.01              $3,875.93               $906.47          $2,789.00




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Total               Total                     Total            Total        Total         Total             Total       PAY          PAY          PAY            PAY         PAY         DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES   EE TAXES
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay      Garnishments ER Contributions   ER Taxes    COMMISSION   DRAW         TRAINING PAY   TXBL: LTD   TXBL: STD   DENTAL       MEDICAL      VISION       CO STATE W/H   FEDERAL W/H   MEDICARE   SOCIAL SEC
$0.00               $0.00                     $17,136.41       $45,200.50   $0.00         $3,626.45         $5,092.80   $31,937.68   $25,417.70   $9,890.11      $82.24      $95.86      $615.81      $4,252.81    $39.96       $2,789.00      $9,565.01     $906.47    $3,875.93
$0.00               $0.00                     $17,136.41       $45,200.50   $0.00         $3,626.45         $5,092.80   $31,937.68   $25,417.70   $9,890.11      $82.24      $95.86      $615.81      $4,252.81    $39.96       $2,789.00      $9,565.01     $906.47    $3,875.93




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ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES      ER TAXES   ER TAXES      ER TAXES
ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA       FUTA       MEDICARE ER   SOC SEC ER
$132.32            $24.86             $82.24             $3,251.21          $95.86             $39.96             $268.40       $42.00     $906.47       $3,875.93
$132.32            $24.86             $82.24             $3,251.21          $95.86             $39.96             $268.40       $42.00     $906.47       $3,875.93




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                                                                                                       Total         Total                    Total           Total         Total        Total         Total                   Total            Total                Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status     Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deduc Earned Incom Federal Incom Social Security Taxes   Medicare Taxes   State Income Taxes   State DI/UI Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated 0.00          $205,652.04   $0.00                    $473.17         $13,854.80    $0.00        $46,702.08    $7,886.40               $2,873.10        $8,849.00            $0.00
                                                                                                       $205,652.04   $0.00                    $473.17         $13,854.80    $0.00        $46,702.08    $7,886.40               $2,873.10        $8,849.00            $0.00




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Total                     Total            Total         Total         Total             Total        PAY           PAY          PAY         PAY           PAY         DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES
Other State/Local Taxes   Total EE Taxes   Net Pay       Garnishments ER Contributions   ER Taxes     COMMISSION    DRAW         TXBL: LTD   TXBL: STD     VAC BONUS   401(K)       DENTAL       ESPP         MEDICAL      VISION       CO STATE W/H   FEDERAL W/H   MEDICARE
$0.00                     $66,310.58       $125,013.49   $0.00         $10,652.65        $11,340.25   $167,178.75   $36,000.12   $231.37     $241.80       $2,000.00   $4,718.17    $868.32      $1,629.11    $6,523.76    $115.44      $8,849.00      $46,702.08    $2,873.10
$0.00                     $66,310.58       $125,013.49   $0.00         $10,652.65        $11,340.25   $167,178.75   $36,000.12   $231.37     $241.80       $2,000.00   $4,718.17    $868.32      $1,629.11    $6,523.76    $115.44      $8,849.00      $46,702.08    $2,873.10




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EE TAXES    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES   ER TAXES   ER TAXES      ER TAXES
SOCIAL SEC 401K MATCH          ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA    FUTA       MEDICARE ER   SOC SEC ER
$7,886.40   $4,718.17          $195.57            $32.89             $231.37            $5,117.41          $241.80            $115.44            $538.75    $42.00     $2,873.10     $7,886.40
$7,886.40   $4,718.17          $195.57            $32.89             $231.37            $5,117.41          $241.80            $115.44            $538.75    $42.00     $2,873.10     $7,886.40




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                                                                                                       Total         Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status     Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated 0.00          $461,381.24   $0.00                    $1,432.37       $40,668.01           $0.00                  $112,278.02            $7,960.80               $8,879.10        $19,797.00
                                                                                                       $461,381.24   $0.00                    $1,432.37       $40,668.01           $0.00                  $112,278.02            $7,960.80               $8,879.10        $19,797.00




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Total               Total                     Total            Total         Total         Total             Total        PAY         PAY           PAY          PAY         PAY         PAY         PAY            DEDUCTIONS   DEDUCTIONS     DEDUCTIONS   DEDUCTIONS   DEDUCTIONS
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay       Garnishments ER Contributions   ER Taxes     COE GUEST   COMMISSION    DRAW         TXBL: LTD   TXBL: STD   VAC BONUS   VOLUME BONUS   401(K)       401K CATCHUP   DENTAL       ESPP         MEDICAL
$0.00               $0.00                     $148,914.92      $270,365.94   $0.00         $16,423.28        $14,710.47   $811.49     $369,448.75   $36,000.12   $332.80     $288.08     $2,000.00   $52,500.00     $18,500.00   $6,000.00      $837.15      $9,198.94    $6,010.49
$0.00               $0.00                     $148,914.92      $270,365.94   $0.00         $16,423.28        $14,710.47   $811.49     $369,448.75   $36,000.12   $332.80     $288.08     $2,000.00   $52,500.00     $18,500.00   $6,000.00      $837.15      $9,198.94    $6,010.49




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DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES    EE TAXES    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES   ER TAXES   ER TAXES
SUPP LIFE    VISION       CO STATE W/H   FEDERAL W/H   MEDICARE    SOCIAL SEC 401K MATCH          ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA    FUTA       MEDICARE ER
$17.82       $103.61      $19,797.00     $112,278.02   $8,879.10   $7,960.80   $11,000.00         $182.47            $39.52             $332.80            $4,476.73          $288.08            $103.68            $118.44    $42.00     $6,589.23
$17.82       $103.61      $19,797.00     $112,278.02   $8,879.10   $7,960.80   $11,000.00         $182.47            $39.52             $332.80            $4,476.73          $288.08            $103.68            $118.44    $42.00     $6,589.23




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ER TAXES
SOC SEC ER
$7,960.80
$7,960.80




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                                                                                                       Total         Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status     Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated 0.00          $175,817.89   $0.00                    $2,303.26       $25,744.03           $0.00                  $30,955.09             $8,239.80               $2,484.31        $6,981.00
                                                                                                       $175,817.89   $0.00                    $2,303.26       $25,744.03           $0.00                  $30,955.09             $8,239.80               $2,484.31        $6,981.00




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Total               Total                     Total            Total        Total         Total             Total        PAY         PAY           PAY          PAY         PAY       PAY         PAY         DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay      Garnishments ER Contributions   ER Taxes     COE GUEST   COMMISSION    DRAW         ESPPSOLD TXBL: LTD    TXBL: STD   VAC BONUS   401(K)       DENTAL       ESPP         MEDICAL      SUPP LIFE
$0.00               $0.00                     $48,660.20       $99,110.40   $0.00         $10,483.71        $10,959.99   $1,654.00   $137,441.22   $28,107.78   $1,965.63   $361.18   $288.08     $6,000.00   $17,154.88   $614.38      $4,052.80    $3,800.61    $49.86
$0.00               $0.00                     $48,660.20       $99,110.40   $0.00         $10,483.71        $10,959.99   $1,654.00   $137,441.22   $28,107.78   $1,965.63   $361.18   $288.08     $6,000.00   $17,154.88   $614.38      $4,052.80    $3,800.61    $49.86




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DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES    EE TAXES    ER CONTRIBUTIONS    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES   ER TAXES   ER TAXES      ER TAXES
VISION       CO STATE W/H   FEDERAL W/H   MEDICARE    SOCIAL SEC 401K MATCH           ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA    FUTA       MEDICARE ER   SOC SEC ER
$71.50       $6,981.00      $30,955.09    $2,484.31   $8,239.80   $6,861.96           $126.88            $44.29             $361.18            $2,729.56          $288.08            $71.76             $193.88    $42.00     $2,484.31     $8,239.80
$71.50       $6,981.00      $30,955.09    $2,484.31   $8,239.80   $6,861.96           $126.88            $44.29             $361.18            $2,729.56          $288.08            $71.76             $193.88    $42.00     $2,484.31     $8,239.80




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                                                                                                       Total         Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status     Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated 0.00          $419,662.74   $0.00                    $680.22         $44,983.21           $0.00                  $103,102.07            $8,537.40               $7,952.65        $17,819.00
                                                                                                       $419,662.74   $0.00                    $680.22         $44,983.21           $0.00                  $103,102.07            $8,537.40               $7,952.65        $17,819.00




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Total               Total                     Total            Total         Total         Total             Total        PAY           PAY          PAY         PAY         PAY         PAY         PAY            DEDUCTIONS   DEDUCTIONS     DEDUCTIONS   DEDUCTIONS   DEDUCTIONS
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay       Garnishments ER Contributions   ER Taxes     COMMISSION    DRAW         FRONTLINE   TXBL: LTD   TXBL: STD   VAC BONUS   VOLUME BONUS   401(K)       401K CATCHUP   DENTAL       ESPP         MEDICAL
$0.00               $0.00                     $137,411.12      $236,588.19   $0.00         $15,247.03        $14,780.59   $311,482.40   $36,000.12   $2,000.00   $392.14     $288.08     $2,000.00   $67,500.00     $19,500.00   $6,500.00      $618.70      $14,239.42   $3,966.11
$0.00               $0.00                     $137,411.12      $236,588.19   $0.00         $15,247.03        $14,780.59   $311,482.40   $36,000.12   $2,000.00   $392.14     $288.08     $2,000.00   $67,500.00     $19,500.00   $6,500.00      $618.70      $14,239.42   $3,966.11




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DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES    EE TAXES    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES   ER TAXES   ER TAXES
SUPP LIFE    VISION       CO STATE W/H   FEDERAL W/H   MEDICARE    SOCIAL SEC 401K MATCH          ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA    FUTA       MEDICARE ER
$87.48       $71.50       $17,819.00     $103,102.07   $7,952.65   $8,537.40   $11,400.00         $127.78            $53.30             $392.14            $2,913.97          $288.08            $71.76             $183.60    $42.00     $6,017.59
$87.48       $71.50       $17,819.00     $103,102.07   $7,952.65   $8,537.40   $11,400.00         $127.78            $53.30             $392.14            $2,913.97          $288.08            $71.76             $183.60    $42.00     $6,017.59




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ER TAXES
SOC SEC ER
$8,537.40
$8,537.40




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                                                                                                         Total         Total                    Total           Total                Total                  Total                  Total                   Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status       Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated   0.00          $551,105.50   $0.00                    $1,811.88       $55,550.92           $0.00                  $141,060.35            $8,853.60               $11,038.36
                                                                                                         $551,105.50   $0.00                    $1,811.88       $55,550.92           $0.00                  $141,060.35            $8,853.60               $11,038.36




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Total                Total               Total                     Total            Total         Total         Total             Total        PAY         PAY           PAY          PAY         PAY         PAY         PAY            DEDUCTIONS   DEDUCTIONS     DEDUCTIONS
State Income Taxes   State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay       Garnishments ER Contributions   ER Taxes     COE GUEST   COMMISSION    DRAW         TXBL: LTD   TXBL: STD   VAC BONUS   VOLUME BONUS   401(K)       401K CATCHUP   DENTAL
$23,561.00           $0.00               $0.00                     $184,513.31      $309,229.39   $0.00         $15,762.22        $17,212.90   $1,042.20   $437,293.50   $36,000.12   $448.39     $321.29     $6,000.00   $70,000.00     $19,500.00   $6,500.00      $626.86
$23,561.00           $0.00               $0.00                     $184,513.31      $309,229.39   $0.00         $15,762.22        $17,212.90   $1,042.20   $437,293.50   $36,000.12   $448.39     $321.29     $6,000.00   $70,000.00     $19,500.00   $6,500.00      $626.86




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DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES     EE TAXES    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS
ESPP         MEDICAL      SUPP LIFE    VISION       CO STATE W/H   FEDERAL W/H   MEDICARE     SOCIAL SEC 401K MATCH          ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION
$24,556.19   $4,093.44    $202.21      $72.22       $23,561.00     $141,060.35   $11,038.36   $8,853.60   $11,600.00         $129.48            $61.22             $448.39            $3,129.36          $321.29            $72.48
$24,556.19   $4,093.44    $202.21      $72.22       $23,561.00     $141,060.35   $11,038.36   $8,853.60   $11,600.00         $129.48            $61.22             $448.39            $3,129.36          $321.29            $72.48




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ER TAXES   ER TAXES   ER TAXES      ER TAXES
CO SUTA    FUTA       MEDICARE ER   SOC SEC ER
$395.76    $42.00     $7,921.54     $8,853.60
$395.76    $42.00     $7,921.54     $8,853.60




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                                                                                                         Total         Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status       Hourly Rate   Gross Pay     Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated   0.00          $163,866.92   $0.00                    $2,591.58       $30,308.48           $0.00                  $33,918.15             $9,114.00               $2,304.99        $6,437.00
                                                                                                         $163,866.92   $0.00                    $2,591.58       $30,308.48           $0.00                  $33,918.15             $9,114.00               $2,304.99        $6,437.00




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Total               Total                     Total            Total        Total         Total             Total        PAY          PAY         PAY          PAY          PAY       PAY         PAY         PAY         PAY            DEDUCTIONS   DEDUCTIONS   DEDUCTIONS
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay      Garnishments ER Contributions   ER Taxes     AUTO ALLOW   COE GUEST   COMMISSION   DRAW         PHONE     TXBL: LTD   TXBL: STD   VAC BONUS   VOLUME BONUS   401(K)       401K ROTH    DENTAL
$0.00               $0.00                     $51,774.14       $79,192.72   $0.00         $10,926.74        $11,777.19   $3,000.00    $1,754.00   $95,361.75   $38,538.59   $375.00   $498.47     $339.11     $4,000.00   $20,000.00     $13,474.62   $1,061.14    $621.64
$0.00               $0.00                     $51,774.14       $79,192.72   $0.00         $10,926.74        $11,777.19   $3,000.00    $1,754.00   $95,361.75   $38,538.59   $375.00   $498.47     $339.11     $4,000.00   $20,000.00     $13,474.62   $1,061.14    $621.64




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DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   EE TAXES       EE TAXES      EE TAXES    EE TAXES    ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES
ESPP         MEDICAL      SUPP LIFE    VISION       CO STATE W/H   FEDERAL W/H   MEDICARE    SOCIAL SEC 401K MATCH          ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO SUTA
$10,596.88   $4,206.84    $273.78      $73.58       $6,437.00      $33,918.15    $2,304.99   $9,114.00   $6,451.01          $129.48            $62.74             $498.47            $3,372.09          $339.11            $73.84             $316.20
$10,596.88   $4,206.84    $273.78      $73.58       $6,437.00      $33,918.15    $2,304.99   $9,114.00   $6,451.01          $129.48            $62.74             $498.47            $3,372.09          $339.11            $73.84             $316.20




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ER TAXES   ER TAXES      ER TAXES
FUTA       MEDICARE ER   SOC SEC ER
$42.00     $2,304.99     $9,114.00
$42.00     $2,304.99     $9,114.00




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                                                                                                       Total        Total                    Total           Total                Total                  Total                  Total                   Total            Total
Employee Name      Company # Company Name               FLSA Status Pay Group Status     Hourly Rate   Gross Pay    Expense Reimbursements   Fringe Benefits Payroll Deductions   Earned Income Credit   Federal Income Taxes   Social Security Taxes   Medicare Taxes   State Income Taxes
MCALISTER, RIKKI   02733     LGI HOMES CORPORATE, LLC   Exempt      BW-HM     Terminated 0.00          $13,514.14   $0.00                    $64.08          $1,459.99            $0.00                  $1,107.12              $789.17                 $184.56          $529.00
                                                                                                       $13,514.14   $0.00                    $64.08          $1,459.99            $0.00                  $1,107.12              $789.17                 $184.56          $529.00




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Total               Total                     Total            Total       Total         Total             Total       PAY          PAY         PAY       PAY         PAY         PAY         DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   DEDUCTIONS   EE TAXES
State DI/UI Taxes   Other State/Local Taxes   Total EE Taxes   Net Pay     Garnishments ER Contributions   ER Taxes    AUTO ALLOW   DRAW        PHONE     TXBL: LTD   TXBL: STD   VAC BONUS   401K ROTH    DENTAL       MEDICAL      SUPP LIFE    VISION       CO PAID FMLA
$0.00               $57.27                    $2,667.12        $9,322.95   $0.00         $1,226.82         $1,309.75   $2,000.00    $7,200.06   $250.00   $37.35      $26.73      $4,000.00   $642.80      $94.12       $680.16      $31.59       $11.32       $57.27
$0.00               $57.27                    $2,667.12        $9,322.95   $0.00         $1,226.82         $1,309.75   $2,000.00    $7,200.06   $250.00   $37.35      $26.73      $4,000.00   $642.80      $94.12       $680.16      $31.59       $11.32       $57.27




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EE TAXES       EE TAXES      EE TAXES   EE TAXES   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER CONTRIBUTIONS   ER TAXES     ER TAXES   ER TAXES   ER TAXES      ER TAXES
CO STATE W/H   FEDERAL W/H   MEDICARE   SOCIAL SEC 401K MATCH         ER DENTAL          ER LIFE            ER LTD             ER MEDICAL         ER STD             ER VISION          CO FMLA ER   CO SUTA    FUTA       MEDICARE ER   SOC SEC ER
$529.00        $1,107.12     $184.56    $789.17    $538.00            $19.92             $4.14              $37.35             $589.32            $26.73             $11.36             $57.27       $236.75    $42.00     $184.56       $789.17
$529.00        $1,107.12     $184.56    $789.17    $538.00            $19.92             $4.14              $37.35             $589.32            $26.73             $11.36             $57.27       $236.75    $42.00     $184.56       $789.17




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